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             United States Court of Appeals
                      FOR THE DISTRICT OF COLUMBIA CIRCUIT



            Argued October 25, 2023                 Decided July 26, 2024

                                     No. 22-1045

                        LIQUID ENERGY PIPELINE ASSOCIATION,
                                    PETITIONER

                                          v.

              FEDERAL ENERGY REGULATORY COMMISSION AND UNITED
                             STATES OF AMERICA,
                                RESPONDENTS

              ENERGY INFRASTRUCTURE COUNCIL AND ENBRIDGE INC.,
                               INTERVENORS



               Consolidated with 22-1103, 22-1104, 22-1105, 22-1110,
                                 22-1257, 22-1258


                            On Petitions for Review of Orders
                     of the Federal Energy Regulatory Commission



                Miguel A. Estrada argued the cause for Carrier Petitioners.
            With him on the joint briefs were Amy L. Hoff, Elizabeth B.
            Kohlhausen, Charles F. Caldwell, Matthew S. Rozen, Aaron
            Smith, Daniel J. Poynor, Linda C. Bailey, Hyland Hunt, and
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            Ruthanne M. Deutsch. William S. Scherman, Jason J.
            Fleischer, and Steven M. Kramer, entered appearances.

                 Steven A. Adducci argued the cause for Shipper
            Petitioners. With him on the briefs were Richard E. Powers,
            Jr., Matthew D. Field, Gregory S. Wagner, and William G.
            Bolgiano.

                Matthew J. Glover, Attorney, Federal Energy Regulatory
            Commission, argued the cause for respondent. With him on
            the brief were Robert B. Nicholson and Robert J. Wiggers,
            Attorneys, U.S. Department of Justice, and Matthew R.
            Christiansen, General Counsel, and Robert H. Solomon,
            Solicitor, Federal Energy Regulatory Commission.

                Miguel A. Estrada, Matthew S. Rozen, and Aaron Smith
            were on the brief for intervenor Liquid Energy Pipeline
            Association in support of respondents. Jason J. Fleischer,
            Steven M. Kramer, and William S. Scherman entered
            appearances.

                 Richard E. Powers, Jr., Matthew D. Field, Steven A.
            Adducci, Gregory S. Wagner, William G. Bolgiano, Elizabeth
            A. Zembruski, Matthew T. Rick, and James Harrison Holt were
            on the brief for Shipper-Intervenors in support of respondents.

                Before: SRINIVASAN, Chief Judge, MILLETT and WILKINS,
            Circuit Judges.

                Opinion for the Court filed by Chief Judge SRINIVASAN.

                SRINIVASAN, Chief Judge: Every five years, the Federal
            Energy Regulatory Commission reviews the methodology used
            by oil pipelines to set their maximum annual rate increases.
            That methodology is called the Index.        In 2020, the
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            Commission conducted its five-year review and set the Index
            level for the next cycle. After that Index took effect, the
            Commission modified it on rehearing. We vacate that order
            because the Commission was obligated to—but did not—
            adhere to notice-and-comment procedures when resetting the
            Index on rehearing.

                                            I.

                                           A.

                The Interstate Commerce Act (ICA) charges the Federal
            Energy Regulatory Commission with ensuring that the rates
            charged by interstate oil pipelines are “just and reasonable.” 49
            U.S.C. App. § 1(5) (1988). In the Energy Policy Act of 1992,
            Congress required the Commission to “establish[] a simplified
            and generally applicable ratemaking methodology” for
            producing just and reasonable rates. Pub. L. No. 102-486,
            § 1801, 106 Stat. 2776, 3010 (citing 49 U.S.C. App. § 1(5)
            (1988)).

                 The Commission implements that congressional mandate
            through the Index, a methodology for setting the maximum rate
            increases pipelines may charge customers each year. Ass’n of
            Oil Pipe Lines v. FERC (AOPL I), 83 F.3d 1424, 1429–31
            (D.C. Cir. 1996). While pipelines are required to file their
            initial rates with the Commission, “pipelines may increase their
            rates without seeking the Commission’s approval, so long as
            the increase does not exceed the annual limit, computed using
            the index.” Ass’n of Oil Pipe Lines v. FERC, 876 F.3d 336,
            339 (D.C. Cir. 2017). The Index is “designed to enable
            pipelines to recover costs by allowing pipelines to raise rates at
            the same pace as they are predicted to experience cost
            increases.” AOPL I, 83 F.3d at 1430.
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                                          B.

                 The Commission reviews the Index every five years. In
            June 2020, the Commission began the process for its next five-
            year review by inviting comments on a new proposed Index.
            Notice of Inquiry, Five-Year Review of the Oil Pipeline Index,
            171 FERC ¶ 61,239 (June 18, 2020). A group of pipelines
            (whom we will refer to as Carriers) and a group of pipeline
            customers (whom we will refer to as Shippers) both submitted
            comments. Carriers proposed changes that would give rise to
            a higher Index (and so would allow for higher potential cost
            increases) than the proposed Index, while Shippers sought the
            opposite.

                On December 17, 2020, the Commission issued an Initial
            Order establishing an Index level higher than the proposed
            Index. Order Establishing Index Level, Five-Year Review of
            the Oil Pipeline Index, 173 FERC ¶ 61,245 (Dec. 17, 2020). In
            calculating that Index, the Commission adopted Carriers’
            proposals. The Commission published the Initial Order in the
            Federal Register and made the Order effective on February 16,
            2021. Five-Year Review of the Oil Pipeline Index, 86 Fed. Reg.
            9448. The Index established by the Initial Order was slated to
            become effective on July 1, 2021. Id.

                 Both Carriers and Shippers promptly sought rehearing of
            the Initial Order. Carriers asked for minor changes to the data
            source used in the Commission’s calculations. Shippers, by
            contrast, substantively challenged the Commission’s decisions
            in calculating the Initial Order’s Index level.

                On February 18, 2021, the Commission’s Deputy
            Secretary issued a tolling order on the rehearing requests to
            prevent them from being deemed denied by operation of law.
            See 18 C.F.R. § 385.713(f). Importantly for our purposes, the
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            tolling order established that neither Carriers nor Shippers were
            permitted to comment in each other’s rehearing proceedings.
            On July 1, 2021, while the tolling order remained in place, the
            Initial Order’s Index took effect as scheduled.

                 Subsequently, on January 20, 2022, the Commission
            issued a Rehearing Order granting Shippers’ rehearing request.
            Order on Rehearing, Five-Year Review of the Oil Pipeline
            Index, 178 FERC ¶ 61,023. The Rehearing Order adopted
            Shippers’ suggestions for recalculating the Index and set a new,
            lower Index to be effective on March 1, 2022.

                 On February 22, 2022, Shippers requested rehearing or
            clarification of the Rehearing Order. They sought assurance
            that they could read the Rehearing Order to apply retroactively
            to the Initial Order’s effective date, July 1, 2021. That would
            enable Shippers to seek refunds of any charged rates exceeding
            the Rehearing Order’s Index.           On May 6, 2022, the
            Commission denied Shippers’ request, confirming that the
            Rehearing Order applied only prospectively.

                                           II.

                 In their petitions for review, Carriers bring a variety of
            challenges to the Commission’s Rehearing Order. We grant
            the petitions based on one of the grounds Carriers assert: that
            the Commission failed to comply with the Administrative
            Procedure Act (APA) when it modified the Index in the
            Rehearing Order without adhering to notice-and-comment
            procedures. Because our ruling in favor of Carriers on that
            ground affords them all the relief they seek—vacatur of the
            Rehearing Order—we have no need to consider any of their
            other challenges.
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                                          A.

                 As a threshold matter, the Commission contends that
            Carriers failed to exhaust their APA challenge before the
            agency. A party challenging agency action generally must first
            raise an issue before the agency to preserve it for judicial
            review. Advocs. for Highway & Auto Safety v. Fed. Motor
            Carrier Safety Admin., 429 F.3d 1136, 1150 (D.C. Cir. 2005).
            Here, the Commission argues that Carriers forfeited their APA
            notice-and-comment challenge by failing to assert it before the
            agency. We disagree.

                 Carriers had no ability to raise their notice-and-comment
            complaint before the agency granted Shippers’ rehearing
            request in the Rehearing Order. Before any party sought
            rehearing of the agency’s Initial Order, there of course would
            have been no ripe challenge to the way in which the agency
            would conduct any potential rehearing procedures: at that time,
            Carriers had no reason to know whether any rehearing
            procedures would in fact come to pass. And after Shippers
            sought rehearing of the Initial Order, the agency, as noted,
            prohibited Carriers from commenting in Shippers’ rehearing
            proceeding. In those circumstances, Carriers had no occasion
            to raise their notice-and-comment challenge to the rehearing
            procedures before the Commission issued the Rehearing Order.

                 As we have explained, “courts have no authority to require
            petitioners seeking judicial review of a final agency action to
            further exhaust administrative procedures.” CSX Trans., Inc.
            v. Surface Trans. Bd., 584 F.3d 1076, 1079 (D.C. Cir. 2009).
            Carriers therefore were not required to raise their notice-and-
            comment challenge to the Rehearing Order before the agency
            in order to present it for judicial review.
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                                          B.

                 Because the ICA does not provide its own procedural
            rules, we assume the APA’s procedural requirements apply.
            See Carlson v. Postal Regul. Comm’n, 938 F.3d 337, 348 (D.C.
            Cir. 2019); see also Asphalt Roofing Mfrs. Ass’n v. ICC, 567
            F.2d 994, 1002 n.5 (D.C. Cir. 1977). The Commission does
            not dispute the applicability of the APA. We also assume for
            present purposes that the Commission’s authority under the
            ICA to rehear its orders, see 49 U.S.C. App. § 17(6)–(7)
            (1988), encompassed its rehearing of the Index level
            established in the Initial Order. The question is whether the
            Commission could conduct that rehearing and change the
            effective Index level without abiding by the APA’s notice-and-
            comment requirements.

                “To foster public participation and facilitate reasoned
            decisionmaking, ‘the Administrative Procedure Act requires
            agencies to afford notice of a proposed rulemaking and an
            opportunity for public comment prior to a rule’s promulgation,
            amendment, modification, or repeal.’” Humane Soc’y v.
            USDA, 41 F.4th 564, 568 (D.C. Cir. 2022) (quoting Am. Hosp.
            Ass’n v. Bowen, 834 F.2d 1027, 1044 (D.C. Cir. 1987)).
            Consequently, “once an agency makes a rule—that is, once it
            makes a statement prescribing law with future effect—the APA
            requires the agency to provide notice and an opportunity for
            comment before repealing [or amending] it.” Id. at 569.

                 Here, the Commission abided by the APA’s notice-and-
            comment requirements when, in the Initial Order, it first
            promulgated the Index for the 2021–2025 five-year cycle. 86
            Fed. Reg. at 9449. The agency, then, was obligated to “use the
            same procedures” to amend the Index. Perez v. Mortg. Bankers
            Ass’n, 575 U.S. 92, 101 (2015). But when the Commission
            altered the Index by granting Shippers’ rehearing request in the
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            Rehearing Order, it did so without adhering to notice-and-
            comment procedures.

                 The Commission does not suggest that its adjustment of
            the Index in the Rehearing Order fits within an exemption to
            the APA’s notice-and-comment requirements. For instance, an
            interpretive rule generally need not undergo notice-and-
            comment procedures. Shalala v. Guernsey Mem’l Hosp., 514
            U.S. 87, 99 (1995). See also AOPL I, 83 F.3d at 1432; AT&T
            Corp. v. FCC, 113 F.3d 225, 229 (D.C. Cir. 1997). The
            Rehearing Order, however, substantively altered the Index
            from the level prescribed in the Initial Order. The Commission
            does not contend otherwise. And “[w]hereas a clarification
            may be embodied in an interpretive rule that is exempt from
            notice and comment requirements, new rules that work
            substantive changes in prior regulations are subject to the
            APA’s procedures.” Sprint Corp. v. FCC, 315 F.3d 369, 374
            (D.C. Cir. 2003) (internal citations omitted).

                 The Commission’s central argument is that it afforded
            notice-and-comment procedures when first establishing the
            Index in the Initial Order, and that the Index proceeding
            remained ongoing through the completion of any agency
            rehearing proceedings. As a result, the Commission submits,
            there was no need to provide another round of notice-and-
            comment procedures while the same proceeding remained
            open. In the Commission’s view, in other words, the alteration
            of the Index in the Rehearing Order was not a new proceeding
            requiring a new round of notice-and-comment procedures, but
            instead was a continuation of a preexisting proceeding for
            which notice-and-comment procedures had already been
            afforded.

               The Commission’s theory proves too much. Under the
            Commission’s approach, it could grant rehearing of an
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            established rate methodology years after it took effect and
            became enforceable, and indeed could do so dozens of times in
            succession, without ever needing to afford notice to the public
            and an opportunity to submit comments about the desirability
            of altering (and repeatedly realtering) the prevailing
            methodology. There is no basis for allowing that kind of
            broadscale evasion of the APA’s notice-and-comment
            procedural requirements.

                 In particular, there is no omnibus “rehearing exception” to
            the APA’s notice-and-comment requirements. See Clean Air
            Council v. Pruitt, 862 F.3d 1, 8–9 (D.C. Cir. 2017); Consumer
            Energy Council of Am. v. FERC, 673 F.2d 425, 445 n.71 (D.C.
            Cir. 1982). As we have explained in the closely related context
            of Commission rules under the Natural Gas Policy Act,
            “Congress did not intend . . . to permit the Commission to use
            the occasion of a petition for rehearing to make any substantive
            change whatsoever in a rule, without providing some notice
            and comment.” Consumer Energy, 673 F.2d at 446 n.71. A
            contrary conclusion “would effectively eviscerate the
            procedural protections provided by the APA.” Id. So too here.

                 Outside the context of agency rehearing proceedings like
            those at issue here, we have held that once an agency’s rule is
            “‘valid’ against the public at large,” the APA generally requires
            the agency to afford notice-and-comment procedures before
            amending the rule. Humane Soc’y, 41 F.4th at 570. This case
            does not require definitive resolution of exactly “when a rule
            passes this regulatory point of no return,” id. at 568, when an
            agency adjusts a rule in an exercise of its rehearing authority.
            The conferral of rehearing powers suggests some congressional
            desire for agency flexibility in administrative process, cf. Int’l
            Harvester Co. v. Ruckelshaus, 478 F.2d 615, 632 & n.51 (D.C.
            Cir. 1973), and this case does not require us to prescribe an
            across-the-board answer to when an agency must provide
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             notice-and-comment procedures in exercising its rehearing
             authority.

                  Instead, we can resolve this case on the particular facts
             before us. Specifically, the Index set by the Initial Order at
             least became sufficiently final to require that any amendment
             undergo notice-and-comment procedures once the Index’s
             effective date of July 1, 2021, arrived. At that point, the Initial
             Order necessarily “carrie[d] legal consequences,” Humane
             Soc’y, 41 F.4th at 570, of a kind requiring adherence to APA
             procedures in connection with any substantive modification: as
             of the July 1, 2021, effective date, Carriers became legally
             obligated to charge rates within the ceiling set by the Initial
             Order’s Index and could have been subject to enforcement
             proceedings for failing to comply. In January 2022, after
             Carriers had been bound to comply with the Initial Order’s
             Index for several months, the Commission modified the Index
             in the Rehearing Order. Amending the Index at that point
             required the Commission to provide notice in the Federal
             Register of the changes it planned to make and seek comments
             from “interested persons.” 5 U.S.C. §§ 551(5), 553(b)-(c); see
             Perez, 575 U.S. at 101. The Commission did not do so.

                  The Commission notes that we have declined to review
             rules undergoing rehearing because they were not final as to
             the parties, which, to the Commission, supports the idea that
             rehearing proceedings are an extension of an ongoing
             rulemaking process rather than the initiation of a new process.
             But the cases cited by the Commission concerned exhaustion
             and finality with respect to judicial review. In that context,
             when the parties sought reconsideration, they rendered the
             rules nonfinal as to themselves. See City of New Orleans v.
             SEC, 137 F.3d 638, 639 (D.C. Cir. 1998); Bellsouth Corp. v.
             FCC, 17 F.3d 1487, 1489–90 (D.C. Cir. 1994). But whether
             an agency action is final as to a particular party for purposes of
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             seeking judicial review is a distinct question from whether an
             agency action is final for purposes of triggering the APA’s
             procedural requirements. Here, the Commission needed to
             adhere to those requirements when it modified the Index in the
             Rehearing Order.

                  In sum, the Commission failed to comply with the APA by
             issuing the Rehearing Order after the Initial Order’s Index had
             become effective without affording notice of the proposed
             modification and an opportunity for comment. We thus grant
             Carriers’ petitions for review, vacate the Rehearing Order, and
             order the Commission to reinstate the Initial Order.

                  That resolution also disposes of Shippers’ petitions for
             review. Shippers argue that the Commission should have made
             the Index modifications in the Rehearing Order retroactive.
             But because our grant of Carriers’ petitions entails vacatur of
             the Rehearing Order, Shippers’ challenge to the Commission’s
             treatment of that order as prospective is moot.

                                   *   *    *   *    *

                  For the foregoing reasons, we grant Carriers’ petitions for
             review and vacate the Rehearing Order for failure to abide by
             the APA’s procedural requirements. We dismiss Shippers’
             petitions for review as moot.

                                                                 So ordered.
